Case 18-66618-sms   Doc 15   Filed 12/13/18 Entered 12/13/18 11:25:06   Desc
                                  Page 1 of 2
                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

     IN RE: JAKKI DEE,                         {   CHAPTER 13
                                               {
                                               {
             DEBTOR(S)                         {   CASE NO. A18-66618-SMS
                                               {
                                               {   JUDGE SIGLER


                             OBJECTION TO CONFIRMATION


          COMES NOW MARY IDA TOWNSON, TRUSTEE herein, and objects to
     Confirmation of the plan for the following reasons:

          1. The Debtor(s)' payments under the proposed plan are
     not current.

          2. Pursuant to the proposed plan, the Debtor has a
     domestic support obligation. Prior to confirmation the Debtor
     must provide to the Trustee evidence that all payments that have
     come due since the filing of the petition have been maintained.
     11 U.S.C. Section 1325(a)(8).

          3. The Debtor has failed to return either completed Cash
     Flow Reports or Questionnaire to Business Debtor(s). The
     Trustee is unable to determine the feasibility of the proposed
     plan. 11 U.S.C. Section 1325(a)(6).

          4.   The Chapter 13 Trustee was unable to conduct the
     meeting of creditors scheduled for December 11, 2018 as the
     Debtor had not provided requested documentation regarding his
     business.

          WHEREFORE, the Trustee moves the Court to inquire into the
     above objections, deny Confirmation of this Debtor's (s') Plan
     and to dismiss the case; or, in the alternative, convert the
     case to one under Chapter 7.

           December 13, 2018



                                      __________/s/_____________
                                      K. Edward Safir, Attorney
                                      for Chapter 13 Trustee
                                      GA Bar No. 622149


     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
     (404) 525-1110
     eds@atlch13tt.com
Case 18-66618-sms   Doc 15   Filed 12/13/18 Entered 12/13/18 11:25:06   Desc
                                  Page 2 of 2
     A18-66618-SMS

                              CERTIFICATE OF SERVICE


           This is to certify that I have this day served

     DEBTOR(S):

     JAKKI DEE
     4169 GLADNEY DRIVE
     ATLANTA, GA 30340

     ATTORNEY FOR DEBTOR(S):

     CLARK & WASHINGTON, PC
     BLDG. 3
     3300 NORTHEAST EXPRESSWAY
     ATLANTA, GA 30341

     in the foregoing matter with a copy of this pleading by
     depositing in the United States Mail a copy of same in a
     properly addressed envelope with adequate postage thereon.

     This 13th day of December 2018




                /s/                   ___
     K. Edward Safir, Attorney
     for Chapter 13 Trustee
     GA Bar No. 622149




     Mary Ida Townson, Chapter 13 Trustee
     Suite 2200 – 191 Peachtree Street, N.E.
     Atlanta, GA 30303-1740
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